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                                                                                                              FOIA Summons
                                                                                                              1/13



                                          UNITED STATES DISTRICT COURT
                                          FOR THE DISTRICT OF COLUMBIA


           AMERICA FIRST LEGAL FOUNDATION
                                                  )
                            Plaintiff             )
                                                  )
                 v.                               )                      Civil Action No. 23-3680
UNITED STATES FOOD AND DRUG ADMINISTRATION, et al.)
                                                  )
                       Defendant                  )



                                             SUMMONS IN A CIVIL ACTION

     To:     (Defendant’s name and address) General Counsel
                                          Department of Health and Human Services
                                          200 Independence Ave. S.W.
                                          Washington, DC 20201



             A lawsuit has been filed against you.

             Within 30 days after service of this summons on you (not counting the day you received it) you must
     serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of
     Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name and
     address are:         Jacob Meckler
                          America First Legal Foundation
                          611 Pennsylvania Ave SE #231
                          Washington, DC 20003




           If you fail to respond, judgment by default may be entered against you for the relief demanded in the
     complaint. You also must file your answer or motion with the court.



                                                                  ANGELA D. CAESAR, CLERK OF COURT



     Date:
                                                                         Signature of Clerk or Deputy Clerk
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Civil Action No. 23-3680

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          This summons for (name of individual and title, if any)
was received by me on (date)                                        .

          ’ I personally served the summons on the individual at (place)
                                                                              on (date)                          ; or

          ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                           , a person of suitable age and discretion who resides there,
          on (date)                           , and mailed a copy to the individual’s last known address; or

          ’ I served the summons on (name of individual)                                                                  , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                              on (date)                          ; or

          ’ I returned the summons unexecuted because                                                                          ; or

          ’ Other (specify):
                                                                                                                                      .


          My fees are $                       for travel and $                  for services, for a total of $          0.00          .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                     Server’s signature



                                                                                   Printed name and title




                                                                                      Server’s address

Additional information regarding attempted service, etc:
